                        UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF NORTH CAROLINA
                                  1:20-CV-442


FOOD LION, LLC, and MARYLAND
AND VIRGINIA MILK PRODUCERS
COOPERATIVE ASSOCIATION, INC.,

       Plaintiffs,                              NOTICE OF SPECIAL APPEARANCE
                                                   OF AMBER L. MCDONALD
v.

DAIRY FARMERS OF AMERICA, INC.,

       Defendants.




       Pursuant to Local Rule 83.1(d), please take notice of the special appearance of

Amber L. McDonald as counsel of record for Defendant Dairy Farmers of America, Inc.,

in the above-captioned civil action.

       Ms. McDonald certifies that she is an active member in good standing of the bar of

the District of Columbia.

       Ms. McDonald further certifies that she understands that by entering an

appearance she submits to the disciplinary jurisdiction of the court for any misconduct in

connection with the above-captioned civil action for which she is specially appearing.

       Ms. McDonald represents that she will ensure that an attorney who is familiar with

the case and has authority to control the litigation will be at all conferences, hearings,

trials and other proceedings.



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      Ms. McDonald has associated with James A. Cooney III and Brent F. Powell of

the law firm of Womble Bond Dickinson (US) LLP. Both are members of the bar of this

Court and also serve as counsel of record for Dairy Farmers of America, Inc.

      Ms. McDonald has registered as a filing user with the Court’s CM/ECF system

under Local Rule 5.3(a)(1).

      Respectfully submitted this 22nd day of June 2020.

                                            /s/ Amber L. McDonald
                                            Amber L. McDonald
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